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                                           IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF COLUMBIA

                         RYAN ROTH                                       :
                         332 East 71st Street, Unit 5B
                         New York, NY 10021                              :

                                      Plaintiff,                         :

                               v.                                        : Case No.

                         DONALD J. TRUMP                                 :
                         President of the United States of America
                         1600 Pennsylvania Avenue, NW                    :
                         Washington, DC 20500
                                                                         :
                            and
                                                                         :
                         WILLIAM P. BARR
                         Attorney General of the United States           :
                         950 Pennsylvania Avenue, NW
                         Washington, DC 20530                            :

                            and                                          :

                         MARK ESPER                                      :
                         Secretary of Defense of the United States
                         1000 Defense Pentagon                           :
                         Washington, DC 20301
                                                                         :
                            and
                                                                         :
                         GREGORY T. MONAHAN
                         Acting Chief of the United States Park Police   :
                         1100 Ohio Drive, SW
                         Washington, DC 20242                            :

                            and                                          :
 Regan Zambri Long
 1919 M Street, NW
      Suite 350
Washington, D.C. 20036

    202-463-3030
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                         JAMES M. MURRAY                                  :
                         Director, U.S. Secret Service
                         950 H Street, NW, Suite 7800                     :
                         Washington, DC 20223
                                                                          :
                            and
                                                                          :
                         MAJOR GENERAL WILLIAM J. WALKE
                         Commanding General of the District of            :
                          Columbia National Guard
                         2001 E. Capitol Street, SE                       :
                         Washington, DC 20003
                                                                          :
                            and
                                                                          :
                         GENERAL JAMES C. MCCONVILLE
                         Chief of Staff of the United States Army         :
                         200 Army Pentagon
                         Washington, DC 20310                             :

                            and                                           :

                         JOHN DOES 1-100                                  :

                            and                                           :

                         JOHN POES 1-100                                  :

                                      Defendants.                         :


                                    COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
                                  (Violation of First Amendment Rights, Fourth Amendment Rights)

                               Plaintiff, Ryan Roth, by and through undersigned counsel, respectfully demands

                         judgment against Defendants on the grounds and in the amount set forth below:
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      Suite 350
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    202-463-3030




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                                                     JURISDICTION AND VENUE

                                1.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331,

                         because this action presents federal questions and seeks to redress the deprivation of

                         rights under the First and Fourth Amendments to the United States Constitution.

                                2.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(e)(1),

                         because the events giving rise to these claims occurred in the District of Columbia.

                                                            INTRODUCTION

                                3.     On June 1, 2020, the world watched as the United States of America’s

                         federal government launched a concerted and violent attack to clear from Lafayette

                         Square demonstrators who were peacefully protesting racial injustice, police brutality,

                         and the recent murders by police of George Floyd and Breonna Taylor. Their sole

                         reason for doing so? To allow President Trump to cross the street and pose with a Bible

                         for a five-minute photo opportunity at St. John’s Church.

                                4.     Prior to June 1, President Trump had repeatedly encouraged state and local

                         government actors to use “overwhelming force” to quash protesters and achieve “total

                         domination.” On June 1, at the direction of President Trump, Attorney General Barr

                         ordered that Lafayette Square be promptly cleared of all peaceful demonstrators.

                         Without any warning or request that the protesters leave Lafayette Square, law

                         enforcement agents, including those from the U.S. Park Police, U.S. Secret Service, D.C.

 Regan Zambri Long       National Guard, U.S. Army, and the Arlington County Police Department, donned riot
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                         gear and descended on the peaceful protesters with chemical grenades, tear gas, pepper
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                         balls, and rubber bullets, all while holding over their heads the threat of arrest. The

                         peaceful scene in Lafayette Square erupted into chaos, as demonstrators struggled to

                         escape. Many, including Plaintiff, suffered serious injuries in the process.

                                5.     Defendants’ unwarned use of chemical grenades, tear gas, and rubber

                         bullets to clear the peaceful demonstrators from Lafayette Square amounted to an

                         unreasonable use of force that violated Plaintiff’s First and Fourth Amendment

                         constitutional rights.

                                                                 PARTIES

                                6.     Plaintiff, Ryan Roth, is an adult resident of the State of New York. On

                         June 1, 2020, he participated in the peaceful protest in Lafayette Square against racial

                         injustice, police brutality, and the murders of George Floyd and Breonna Taylor.

                                7.     Defendant Donald J. Trump is the President of the United States. He is

                         sued in his official capacity for the damages alleged herein.

                                8.     Defendant William Barr is the Attorney General of the United States. He

                         is sued in his individual and official capacities, as he personally issued the order that

                         caused the damages alleged herein.

                                9.     Defendant Mark Esper is the U.S. Secretary of Defense. He is sued in his

                         official capacity, through which he is responsible for the actions of the U.S. armed

                         forces, including U.S. military police officers, who caused the damages alleged herein.
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                                10.    Defendant Gregory T. Monahan is the Acting Chief of the United States

                         Park Police. He is sued in his official capacity, through which he is responsible for the

                         actions of the U.S. Park Police officers who caused the damages alleged herein.

                                11.    Defendant James M. Murray is the Director of the U.S. Secret Service. He

                         is sued in his official capacity, through which he is responsible for the actions of Secret

                         Service agents who caused the damages alleged herein.

                                12.    Defendant Major General William J. Walker, is the Commanding General

                         of the District of Columbia National Guard. He is sued in his official capacity, through

                         which he is responsible for the actions of the D.C. National Guard troops who caused the

                         damages alleged herein.

                                13.    Defendant General James C. McConville is the Chief of Staff of the

                         United States Army. He is sued in his official capacity, through which he is responsible

                         for the actions of the U.S. Army troops, including U.S. Military Police officers, who

                         caused the damages alleged herein.

                                14.    Defendants John Does 1-100 are federal law enforcement officers of the

                         U.S. Park Police, agents of the U.S. Secret Service, members of the U.S. Armed Forces,

                         officers of other federal law enforcement agencies, and other federal government

                         officials who authorized, planned, and/or participated in the attack on peaceful protesters

                         in and near Lafayette Square on June 1, 2020.         They are sued in their individual
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 1919 M Street, NW       capacities for causing the damages alleged herein.
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                                 15.   Defendants John Poes 1-100 are officers of state and local law

                         enforcement agencies, including without limitation the Arlington County Police

                         Department, who participated in the attack on peaceful protesters in and near Lafayette

                         Square on June 1, 2020. They are sued in their individual capacities for causing the

                         damages alleged herein.

                                                                 FACTS

                                                         Death of George Floyd

                                 16.   On May 25, 2020, at approximately 8:00 p.m., George Floyd, a 46-year-

                         old black man, was arrested by the Minneapolis Police Department for allegedly passing

                         a counterfeit $20 bill at a grocery store. In the course of his arrest, Mr. Floyd was

                         handcuffed and fell to the pavement outside the grocery store. Despite the fact that Mr.

                         Floyd was handcuffed and lying on his stomach, Officer Derek Chauvin further

                         restrained Mr. Floyd by pressing his knee and leaning his body weight into Mr. Floyd’s

                         neck.   Mr. Floyd desperately plead for relief, repeatedly stating “please,” “I can’t

                         breathe,” and calling “Mama.” Officer Chauvin ignored Mr. Floyd’s pleas, and kept his

                         knee pressed into his neck, even after no pulse was detected, for a total of eight minutes

                         and forty-six seconds.    Responding paramedics found Mr. Floyd unresponsive and

                         pulseless. He was pronounced dead at 9:25 p.m. at Hennepin County Medical Center.

                                 17.   Mr. Floyd’s brutal death represents just one instance of the systemic

 Regan Zambri Long       racism and resulting discrimination perpetrated by law enforcement officers against
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                         black people—discrimination which is further exemplified by the murder of Breonna
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                         Taylor on March 13, 2020 by Louisville, Kentucky police officers who entered her home

                         in the middle of the night and shot her eight times.

                             Peaceful Demonstrations in Lafayette Square: May 29, 2020 - May 31, 2020

                                 18.    Lafayette Square is a seven-acre public park in Washington, D.C., located

                         on H Street between 15th and 17th Streets, directly across from the White House.1 It is

                         the closest public park to the White House.




                                              Image captured from Google Maps, June 11, 2020

                                 19.    As a traditional public forum, throughout its history, Lafayette Square has

                         been frequently used by activists exercising their First Amendment Rights.2

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                             1
                                  National Park Service, Lafayette Square Historic District,
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                         https://www.nps.gov/nr/travel/wash/dc30.htm (accessed June 10, 2020).




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                                    20.     From May 29, 2020 through May 31, 2020, peaceful demonstrators

                         gathered daily in Lafayette Square to protest racial injustice, police brutality, and the

                         murders of Mr. Floyd and Ms. Taylor. Some knelt in silence; others chanted and held

                         signs emblazoned with “Black Lives Matter” and Mr. Floyd’s final words of “I Can’t

                         Breathe.”

                                         Defendants Encourage Use of Force against Peaceful Protesters

                                    21.     Following the beginning of protests on May 29, President Trump began

                         making a series of social media posts encouraging the use of force against

                         demonstrators:

                                         a. On May 29, 2020, at 7:53 a.m., President Trump tweeted3: “. . . These
                                            THUGS are dishonoring the memory of George Floyd, and I won’t let that
                                            happen. Just spoke to Governor Tim Walz and told him that the Military is
                                            with him all the way. Any difficulty and we will assume control but, when
                                            the looting starts, the shooting starts. Thank you!”

                                            (The phrase “when the looting starts, the shooting starts” was first used by
                                            Miami Police Chief Walter Headley in 1967.4 Headley had a known
                                            history of discriminating against the Black community, and he used the
                                            phrase in advocating for the use of police force against black people.)

                                         b. On May 30, 2020, at 8:41 a.m., President Trump tweeted5: “Great job last
                                            night at the White House by the U.S. @SecretService . . . They let the



                            2
                                   Id.
                            3
                                Tweeted from the President’s personal account, @realDonaldTrump (bolded emphasis
                         added). This tweet was removed for violating the Twitter Rules about glorifying violence.
                            4
                                 Barbara Sprunt, The History Behind ‘When the Looting Starts, The Shooting Starts’,
 Regan Zambri Long
 1919 M Street, NW       NPR, May 29, 2020, https://www.npr.org/2020/05/29/864818368/the-history-behind-when-the-
      Suite 350          looting-starts-the-shooting-starts
Washington, D.C. 20036
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                                   Tweeted from the President’s official office account, @POTUS (bolded emphasis
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                         added).



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                                            ‘protesters’ scream & rant as much as they wanted, but whenever
                                            someone got too frisky or out of line, they would quickly come down
                                            on them, hard – didn’t know what hit them . . . Big crowd,
                                            professionally organized, but no one came close to breaching the fence. If
                                            they had they would have been greeted with the most vicious dogs, and
                                            most ominous weapons, I have ever seen. That’s when people would
                                            have been really badly hurt, at least. Many Secret Service agents just
                                            waiting for action. ‘We put the young ones on the front line, sir, they love
                                            it, and good practice.’. . .”

                                         c. On May 30, 2020, at 9:34 a.m., President Trump criticized the protesters in
                                            Lafayette Square and encouraged his supporters to engage in a counter-
                                            demonstration, tweeting6: “The professionally managed so-called
                                            ‘protesters’ at the White House had little to do with the memory of George
                                            Floyd. They were just there to cause trouble. The @SecretService handled
                                            them easily. Tonight, I understand, is MAGA NIGHT AT THE WHITE
                                            HOUSE???”

                                         d. On May 30, 2020, President Trump retweeted7 a tweet from Buck Sexton
                                            that read: “This isn’t going to stop until the good guys are willing to use
                                            overwhelming force against the bad guys.”

                                         e. On May 31, 2020, at 4:15 p.m., President Trump tweeted8: “Get tough
                                            Democrat Mayors and Governors. These people are ANARCHISTS. Call
                                            in our National Guard NOW. . . .”

                                         f. On May 31, 2020, at 6:08 p.m., President Trump tweeted9: “Our National
                                            Guard stopped them [protesters in Minneapolis] cold last night. Should
                                            have been called up sooner!”

                                   22.      On June 1, President Trump led a conference call with the nation’s

                         governors. During the course of that call, President Trump stated10:




                             6
                                   Tweeted from the President’s personal account, @realDonaldTrump.
                             7
 Regan Zambri Long                 Retweeted from the President’s personal account, @realDonaldTrump (bolded emphasis
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      Suite 350
                         added).
Washington, D.C. 20036       8
                                   Tweeted from the President’s personal account, @realDonaldTrump.
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                                   Tweeted from the President’s personal account, @realDonaldTrump.



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                                   a. “The attorney general is here, Bill Bar, and we will activate Bill Barr and
                                      activate him very strongly. We’re strongly – the secretary of defense is
                                      here. We’re strongly looking for arrests. You have to get much tougher.
                                      You’re gonna get over it.”

                                   b. “If you don’t dominate, you’re wasting your time. They’re [protesters]
                                      going to run all over you, you’ll look like a bunch of jerks.”

                                   c. “You have every one of these guys [protesters] on tape, why aren’t you
                                      prosecuting them? Now the harder you are, the tougher you are, the
                                      less likely it is that you’re going to be hit.”

                                   d. “But we found out many things, it’s like a movement, and it’s a movement
                                      that if you don’t put it down, it’ll get worse and worse, this is like
                                      Occupy Wall Street. It was a disaster until one day, somebody said, that’s
                                      enough and they just went in and wiped them out and that’s the last time
                                      we ever heard the name Occupy Wall Street . . . .”

                                   e. “But it’s [protests] happened before, it’s happened numerous times. And
                                      the only time it’s successful is when you’re weak. And most of you are
                                      weak.”

                                   f. “But Washington was under great control. But we’re going to have it
                                      under much more control. We’re pouring in – we’re going to pull in
                                      thousands of people (inaudible) of the DC police, the mayor, the mayor of
                                      Washington DC and Secret Service did a very good job around the White
                                      House but their sole, their primary function is around the White House.
                                      But and we’re going to clamp down very, very strong. And you better
                                      arrest (inaudible) – and you’ll never see this stuff again and you’ll
                                      have to let them know that.”

                                   g. “So I say that and the word is dominate. If you don’t dominate your city
                                      and state, they’re gonna walk away with you. And we’re doing it in
                                      Washington, in DC, we’re going to do something that people haven’t
                                      seen before. But we’re going to have total domination. And then you
                                      have to put them in jail and you have to authorize whatever it is,
                                      whoever it is you authorize . . . .”


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                                 CNN, READ: President Trump’s Call with US Governors Over Protests, June 1, 2020,
                         https://www.cnn.com/2020/06/01/politics/wh-governors-call-protests/index.html (bolded
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                         emphases added).



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                                       h. “Total domination, you have to dominate.”

                                       i. “If you’re weak and don’t dominate the streets they’re gonna stay away
                                          from you until you finally do it, and you don’t want that.”

                                       j. “They go out wearing dark black uniforms. They go out and they were
                                          there in the houses and they walked right down the street, knocking
                                          them out with tear gas, tear gas. Those guys, they were running. And the
                                          next night it was much less and then the next night, it’s like you know
                                          what happened, they went to other cities. They’re all looking for weak
                                          spots.”

                                       k. “And you know when they have bricks you know they come armed with
                                          bricks and they have bricks and rocks big rocks and they have other things
                                          and they throw them, you know you’re allowed to fight back. You don’t
                                          have to have a brick hit you in the face and you don’t do anything
                                          about it, you are allowed to fight back. Now I’m not asking my
                                          attorney general to have to stop me from saying that, but I would say
                                          that if a brick is thrown at somebody and it hits him, or maybe if it
                                          misses him, your very tough, strong, powerful people are allowed to
                                          fight back against that guy and very strongly and powerfully. That’s
                                          what I think.”

                                       l. “Use our National Guard, you’re much better off with too many than too
                                          few. That’s one thing we have to have, too many is a good thing, too few
                                          is unacceptable so go out there and get ‘em, good luck tonight . . . .”

                                 23.      During the course of the same call with the nation’s governors on June 1,

                         Attorney General Barr stated11:

                                       a. “Law enforcement response is not gonna work unless we dominate the
                                          streets, as the President said. We have to control the streets. If we treat
                                          these as demonstrations, the police are pinned back, guarding places and
                                          don’t have the dynamic ability to go out and arrest the troublemakers.
                                          They’re just standing in a line watching the events. Then when they
                                          disperse the crowds, the crowds go off running in different directions,
                                          create havoc, there is looting and everything. We have to control the
                                          crowd and not react to what’s happening, And that requires a strong
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 1919 M Street, NW                        presence. In many places it will require the National Guard and when
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    202-463-3030            11
                                 Id. (bolded emphases added).




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                                          there’s a strong presence, (inaudible) to defend buildings or a strong
                                          presence to control the crowd, things are quieting down, as in Minneapolis.

                                       b. “. . . but the key is you have to have adequate force. That brings up law
                                          enforcement, even federal law enforcement, working with your state and
                                          local law enforcement, to be more dynamic to go after the troublemakers.”

                                       c. “The reason you know we have to control the streets is not just to bring
                                          peace to that town, but to give us the opportunity to get the bad actors
                                          because they are going to go elsewhere, we’re picking up information . . .
                                          So that’s why it’s imperative we can’t play whack-a-mole we have to . . .
                                          professional instigators to the leadership group. And the way to do that is
                                          with a strong statement.”

                                 24.      During the course of the same call with the nation’s governors on June 1,

                         Secretary of Defense Esper stated12: “And so, in my urging I agree, we need to

                         dominate the battle space . . . resources in the guards. I stand ready, the chairman

                         stands ready, the head of the National Guard stands ready to fully support you in terms

                         of helping mobilize the guard and do what they need to do . . . I think the sooner that

                         you mask and dominate the battle space, the quicker this dissipates, and we get back

                         to a – the right normal.”

                                                   The June 1, 2020 Attack on Plaintiff
                                           and Other Peaceful Demonstrators in Lafayette Square

                                 25.      On June 1, 2020, peaceful demonstrators gathered in Lafayette Square to

                         protest police brutality and the deaths of George Floyd and Breonna Taylor.

                                 26.      That afternoon, District of Columbia Mayor Muriel Bowser announced

                         that a curfew would be in effect from 7:00 p.m. on June 1 through 6:00 a.m. on June 2.
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                                 Id. (bolded emphases added).




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                               27.    At approximately 4:30 p.m., Plaintiff arrived at Lafayette Square and

                         joined demonstrators at the front of the crowd, closest to the White House.

                               28.    At 6:04 p.m., following the mayor’s announcement, the White House

                         notified reporters that President Trump would be delivering a briefing at 6:15 p.m. from

                         the Rose Garden.

                               29.    At 6:08 p.m., Attorney General Bar arrived to Lafayette Square to meet

                         with law enforcement, including the National Guard, U.S. Secret Service, U.S. Park

                         Police, U.S. Army, and the Arlington County Police.

                               30.    At 6:10 p.m., Attorney General Barr, while standing behind law

                         enforcement, pointed to St. John’s Church. At approximately the same time, White

                         House Deputy Chief of Staff Tony Ornato contacted the Secret Service to inform them

                         of President Trump’s intention to make an appearance at St. John’s Church. The Secret

                         Service subsequently requested the assistance of other law enforcement agencies to clear

                         the area in and around Lafayette Square and St. John’s Church.

                               31.    Following Attorney General Barr’s order and the request from the U.S.

                         Secret Service for additional law enforcement assistance, additional law enforcement

                         officers appeared at Lafayette Square and began to don gas masks and riot gear.

                               32.    The demonstrators, including Plaintiff, continued protesting peacefully.

                         At no time did Plaintiff engage in or witness any violent, aggressive, or threatening
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                                33.    At approximately 6:30 p.m., 30 minutes before the District-wide curfew

                         went into effect, law enforcement officers from the National Guard, U.S. Secret Service,

                         U.S. Park Police, U.S. Army, and Arlington County Police forcibly rushed the peaceful

                         demonstrators, using tear gas, chemical grenades, pepper balls, and/or rubber bullets to

                         clear the crowd from in and around Lafayette Square and St. John’s Church.

                                34.    Plaintiff, who was at the front of the crowd closest to law enforcement, did

                         not hear any warnings or requests from law enforcement to clear the area in and around

                         Lafayette Square and St. John’s Church at any time prior to law enforcement’s forceful

                         advancement on the demonstrators with chemical grenades, tear gas, pepper balls, and

                         rubber bullets.

                                35.    Plaintiff witnessed fellow demonstrators get hit with rubber bullets as law

                         enforcement advanced, pushing the demonstrators towards 17th Street.

                                36.    Suddenly and without any warning, a law enforcement officer deployed a

                         tear gas canister near Plaintiff. Immediately, Plaintiff felt searing pain in his eyes, and he

                         began coughing and vomiting, collapsing at the intersection of H Street and 17th Street.

                                37.    Plaintiff remained on the ground for several minutes, unable to get up.

                         Law enforcement commanded that he leave the area, but offered him no assistance.

                         Eventually, Plaintiff managed to get up and walk away from Lafayette Square.

                                38.    At 6:43 p.m., President Trump began delivering his remarks from the Rose
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                                39.     At 6:50 p.m., President Trump concluded his remarks with the

                         announcement that he was going to pay his respects to a “very, very special place.”

                                40.     At 7:01 p.m., President Trump began walking from the White House to St.

                         John’s Church, through Lafayette Square.

                                41.     At 7:06 p.m., President Trump arrived at St. John’s Church, and was

                         handed a Bible, which he held up for photographs. He made a series of brief remarks,

                         and continued to pose for photographs for five minutes.

                                42.     At 7:11 p.m., President Trump departed St. John’s Church to return to the

                         White House.

                                43.     The U.S. Department of Justice subsequently acknowledged that Attorney

                         General Barr personally ordered that Lafayette Square be cleared of all demonstrators.

                                44.     President Trump’s visit to St. John’s Church was not motivated by any

                         compelling government purpose—instead, it was an opportunity for photographs and

                         press, driven entirely by President Trump’s desires.

                                45.     As a direct result of Defendants’ orchestrated and forceful attack on

                         Plaintiff and other peaceful demonstrators, Plaintiff sustained numerous severe injuries,

                         including skin, eye, and throat irritation, as well as numerous bruises and contusions.

                                46.     As a further direct result of Defendants’ orchestrated and forceful attack on

                         Plaintiff and other peaceful demonstrators, Plaintiff suffered severe fright and emotional
 Regan Zambri Long
 1919 M Street, NW       distress. Plaintiff is discouraged from participating in protests in the future because he
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                         fears he will suffer serious injuries again at the hands of law enforcement.
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                                 47.    As a further direct result of Defendants’ orchestrated forceful attack on

                         Plaintiff and other peaceful demonstrators, Plaintiff has incurred, and will continue to

                         incur, substantial medical expenses; and has suffered, and will continue to suffer,

                         extreme physical and emotional pain, suffering, and anguish.

                                                 Defendants’ Response to the June 1 Attack

                                 48.    On June 2, 2020, at 9:19 a.m., President Trump tweeted, “D.C. had no

                         problems last night. Many arrests. Great job done by all. Overwhelming force.

                         Domination. Likewise, Minneapolis was great (thank you President Trump!).”13

                                 49.    On June 2, 2020, U.S. Park Police Chief Monahan issued a statement that

                         law enforcement forcefully cleared Lafayette Square “[t]o curtail violence that was

                         underway,” claiming that by “approximately 6:33 p.m. [on June 1], violent protesters on

                         H Street NW began throwing projectiles including bricks, frozen water bottles, and

                         caustic liquids.”14 Demonstrators in Lafayette Square, including Plaintiff, who was at

                         the front of the crowd, did not witness the throwing of any projectiles—an account that

                         has been consistently corroborated by video footage of the demonstration.

                                 50.    On June 2, 2020, the U.S. Secret Service announced that all access to

                         Lafayette Square would be blocked indefinitely to “ensure public safety,” but identified

                         no present or ongoing threat. Federal law enforcement officers erected a perimeter along


                            13
 Regan Zambri Long               Tweeted from the President’s personal account, @realDonaldTrump.
 1919 M Street, NW          14
      Suite 350                   U.S. Park Police, Statement from United States Park Police Acting Chief Gregory T. Monahan
Washington, D.C. 20036   about the Actions Taken over the Weekend to Protect Life and Property, June 2, 2020,
                         https://www.nps.gov/subjects/uspp/6_2_20_statement_from_acting_chief_monahan.htm#:~:text=Throug
    202-463-3030
                         hout%20the%20demonstrations%2C%20the%20USPP.




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                         I Street that stretched from its intersection with 15th Street to its intersection with 17th

                         Street, completely blocking public access to Lafayette Square and preventing the

                         exercise of First Amendment rights therein. By June 11, only some portions of the fence

                         had been removed.

                                 51.    On June 4, 2020, Attorney General Barr defended the clearing of Lafayette

                         Square, claiming that the demonstrators had thrown projectiles, had become

                         “increasingly unruly,” and that they had been asked three times to move back one

                         block.15 Plaintiff, who was peacefully demonstrating at the front of the crowd, did not

                         see any projectiles thrown and did not hear any warnings or requests to move. Attorney

                         General Barr further denied any correlation between the clearing of Lafayette Square

                         and President Trump’s walk to St. John’s Church minutes later, though he acknowledged

                         his knowledge of the President’s plan.16 Yet within that same statement, Attorney

                         General Barr said, “The president is the head of the executive branch and the chief

                         executive of the nation and should be able to walk across the street to the church of

                         presidents . . . I don’t necessarily view that as a political act,” suggesting that Lafayette

                         Square was in fact cleared to afford President Trump a photo opportunity.17

                                 52.    On June 8, White House Press Secretary Kayleigh McEnany said that there

                         were “no regrets on the part of this White House” in the clearing of Lafayette Square a


                            15
                                  Brian Naylor, Attorney General Barr Defends Response to Protests Near the White House,
 Regan Zambri Long
 1919 M Street, NW
                         National Public Radio, Inc., June 4, 2020, https://www.npr.org/2020/06/04/869718579/watch-live-
      Suite 350          justice-department-holds-press-conference-amid-nationwide-protests.
Washington, D.C. 20036
                            16
                                 Id.
    202-463-3030            17
                                 Id.




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                         week prior. Ms. McEnany further defended the use of chemical agents to clear the

                         protestors from Lafayette Square.18

                                 53.    On June 11, 2020, at 8:49 a.m., in an apparent reference to the clearing of

                         Lafayette Square, President Trump tweeted, “Our great National Guard Troops who took

                         care of the area around the White House could hardly believe how easy it was. ‘A walk

                         in the park’, one said. The protestors, agitators, anarchists (ANTIFA), and others, were

                         handled VERY easily by the Guard, D.C. police, and S.S. GREAT JOB!”19

                                                 The Nation Responds to the June 1 Attack

                                 54.    On June 2, 2020, Bishop of the Episcopal Diocese of Washington Mariann

                         Edgar Budde, who oversees St. John’s Church, condemned the forceful clearing of

                         Lafayette Square with tear gas, and stated that she was given no notice of President

                         Trump’s plan to visit the Church.20

                                 55.    On June 2, 2020, Former Under Secretary of Defense James N. Miller

                         resigned from the Defense Science Board, citing Secretary of Defense Esper’s support of

                         the clearing of Lafayette Square as grounds for his resignation. In a resignation letter

                         addressed to Secretary of Defense Esper, Miller wrote, “When I joined the Board . . . I



                            18
                                  The White House, Press Briefing by Press Secretary Kayleigh McEnany, June 8, 2020,
                         https://www.whitehouse.gov/briefings-statements/press-briefing-press-secretary-kayleigh-mcenany-
                         060820/.
                            19
 Regan Zambri Long               Tweeted from the President’s personal account, @realDonaldTrump.
 1919 M Street, NW          20
      Suite 350                   Jeanine Santucci, ‘I am Outraged’: DC Bishop Denounces Trump’s Church Visit After Police
Washington, D.C. 20036   Clear Protesters with Tear Gas, USA Today, June 2, 2020,
                         https://www.usatoday.com/story/news/politics/2020/06/01/mariann-edgar-budde-slams-trump-church-
    202-463-3030
                         visit-after-george-floyd-protesters-tear-gassed/5313842002/.




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                         again swore an oath of office, one familiar to you, that includes the commitment to

                         ‘support and defend the Constitution of the United States . . . and to bear true faith and

                         allegiance to the same’ . . . You recited that same oath on July 23, 2019, when you were

                         sworn in as Secretary of Defense. On Monday, June 1, 2020, I believe you violated that

                         oath . . . You may not have been able to stop President Trump from directing this

                         appalling use of force, but you could have chosen to oppose it. Instead, you visibly

                         supported it.”21

                                 56.    On June 3, 2020, former Secretary of Defense James Mattis issued a

                         statement condemning the forceful clearing of Lafayette Square, stating “When I joined

                         the military, some 50 years ago, I swore an oath to support and defend the Constitution.

                         Never did I dream that troops taking that same oath would be ordered under any

                         circumstance to violate the Constitutional rights of their fellow citizens—much less to

                         provide a bizarre photo op for the elected commander-in-chief, with military leadership

                         standing alongside. We must reject any thinking of our cities as a ‘battlespace’ that our

                         uniformed military is called upon to ‘dominate’ . . . .”22

                                 57.    On June 10, 2020, more than 1,200 former Justice Department staffers

                         signed a letter to Justice Inspector Michael Horowitz, expressing that they were

                         “disturbed” by Attorney General Barr’s order to clear Lafayette Square, and requesting


                            21
 Regan Zambri Long                Ryan Browne, Official Resigns from Pentagon Advisory Board Over Esper’s Perceived Support
 1919 M Street, NW       for Clearing Protest Outside of White House, CNN, June 2, 2020,
      Suite 350          https://www.cnn.com/2020/06/02/politics/james-miller-resigns-defense-advisory-board/index.html.
Washington, D.C. 20036
                            22
                                 CNN, READ: Former Defense Secretary Mattis’ Statement on Trump and Protests, June 3,
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                         2020, https://www.cnn.com/2020/06/03/politics/mattis-protests-statement/index.html.




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                         that the Justice Department conduct an internal review into the order. The former

                         staffers wrote, “Based on what we know now, these actions [the forceful clearing of

                         peaceful demonstrators in Lafayette Square] violated both the First Amendment of the

                         United States Constitution, which protects freedom of speech and the press, and the right

                         to assemble; and the Fourth Amendment, which prohibits unreasonable seizures, to

                         include objectively unreasonable uses of force by law enforcement officers.”23

                                                                COUNT I
                                                      Violation of First Amendment
                                         Rights to Speech, Assembly, and Petition: All Defendants

                                 58.    Plaintiff incorporates the foregoing paragraphs by reference and alleges

                         that under the First Amendment to the U.S. Constitution, Plaintiff had a right to

                         assemble, protest, and demonstrate peacefully in Lafayette Square, a public park.

                                 59.    Because Lafayette Square is a public forum, government efforts to

                         suppress speech and assembly therein can only limit the time, place, and manner of the

                         exercise of the constitutionally protected rights to speech and assembly—in other words,

                         the regulations must be subject matter and viewpoint-neutral. Such efforts must be

                         narrowly tailored to achieve an important government interest, and they must leave open

                         alternative channels of communication.




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      Suite 350                   Kevin Johnson, More than 1,200 Former DOJ Officials Call for Review of AG Barr’s Role in
Washington, D.C. 20036   Clearing Protesters Near White House, USA Today, June 10, 2020,
                         https://www.usatoday.com/story/news/politics/2020/06/10/bill-barr-ex-doj-staffers-want-review-ag-role-
    202-463-3030
                         clearing-protesters/5334704002/.




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                                60.    Defendants’ violent clearing of Lafayette Square with chemical grenades,

                         tear gas, pepper balls, and rubber bullets, without any warning to the peaceful protesters,

                         was done for the singular purpose of affording President Trump a desired photo

                         opportunity at St. John’s Church; it was not narrowly tailored to serve any important

                         government purpose.      Accordingly, Defendants’ clearing of Lafayette Square was

                         unconstitutional and violated Plaintiff’s First Amendment rights.

                                61.    Furthermore,    Defendants’      violent   suppression   of   the   peaceful

                         demonstration in Lafayette Square was motivated by the viewpoint expressed by

                         Plaintiff and other protesters, who were protesting racism, police brutality, and the

                         murders of George Floyd and Breonna Taylor. (As made clear by the fact that President

                         Trump affirmatively invited those who shared his personal views to gather and

                         demonstrate at the same time in the same public forum. See supra ¶ 21(c).) But for

                         Plaintiff’s expression of this viewpoint, Defendants would not have violently suppressed

                         the peaceful demonstration and violated his Constitutional rights.

                                62.    All content and viewpoint-based restrictions on speech in Lafayette Square

                         are subject to “strict scrutiny”; they must be necessary to achieve a compelling

                         government purpose, and must be narrowly tailored to achieve such purpose.

                                63.    Defendants’ clearing of Lafayette Square through the violent suppression

                         of the peaceful demonstration to afford President Trump a photo opportunity (a non-
 Regan Zambri Long
 1919 M Street, NW       compelling government purpose), and their targeted attack on the viewpoint expressed
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                         by Plaintiff and other protesters, was unconstitutional and violated Plaintiff’s First

                         Amendment rights.

                                64.     As a direct result of Defendants’ deliberate violation of Plaintiff’s First

                         Amendment rights through the violent suppression of the peaceful protest in Lafayette

                         Square, Plaintiff suffered the injuries and damages set forth above.

                                65.     Defendants acted with reckless and/or callous indifference to Plaintiff’s

                         constitutional rights by violently suppressing his peaceful protest for no compelling

                         government purpose; accordingly, Defendants are liable for punitive damages.

                                                               COUNT II
                                                    Violation of Fourth Amendment
                                      Right to Freedom from Unreasonable Seizure: All Defendants

                                66.     Plaintiff incorporates the foregoing paragraphs by reference and alleges

                         that under the Fourth Amendment to the U.S. Constitution, Plaintiff has a right to be free

                         from unreasonable seizures.

                                67.     Plaintiff, who was protesting peacefully before the curfew went into effect,

                         did not commit a crime by demonstrating in Lafayette Square, and did not pose any

                         threat to Defendants, their officers, and/or agents.

                                68.     Defendants’ use of violence, force, and the threat of arrest against Plaintiff,

                         without any warning, to clear him from Lafayette Square to afford President Trump a

                         photo opportunity was objectively unreasonable and amounted to an unreasonable
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                         seizure that violated Plaintiff’s Fourth Amendment rights.
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                                69.    As a direct result of Defendants’ deliberate violation of Plaintiff’s First

                         Amendment rights through the violent suppression of the peaceful protest in Lafayette

                         Square, Plaintiff suffered the injuries and damages set forth above.

                                70.    Pursuant to Bivens v. Six Unknown Named Agents of the Federal Bureau

                         of Narcotics, 403 U.S. 388 (1971), Defendants are jointly and severally liable to Plaintiff

                         for the violation of his Fourth Amendment rights.

                                71.    Defendants acted with reckless and/or callous indifference to Plaintiff’s

                         constitutional rights through their unreasonable seizure of Plaintiff; accordingly,

                         Defendants are liable for punitive damages.

                                                         PRAYER FOR RELIEF

                                WHEREFORE, Plaintiff demands injunctive relief so that Plaintiff may continue

                         to exercise his constitutional rights to peacefully assemble and protest without fearing

                         retribution, including preliminary injunctive relief and/or a temporary restraining order

                         requiring Defendants to (1) restore access to Lafayette Park as a traditional public forum

                         and (2) refrain from using excessive force on peaceful protesters;

                                WHEREFORE, Plaintiff demands a declaration that Defendants use of force to

                         clear peaceful demonstrators from Lafayette Square through the use of chemical

                         grenades, tear gas, and/or rubber bullets was and is unconstitutional and unlawful, and

                         represents a violation of the First and Fourth Amendment;
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                                WHEREFORE, Plaintiff demands compensatory damages from Defendants,

                         jointly and severally, in an amount to be proven at trial, including damages for pain and

                         suffering; and

                                WHEREFORE, Plaintiff demands punitive damages from Defendants, jointly and

                         severally, in an amount to be proven at trial.

                                                         JURY TRIAL DEMAND

                                Plaintiff requests a trial by jury on all of the above claims.


                                                                              Respectfully submitted,

                                                                              REGAN ZAMBRI LONG PLLC


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